                 Case 1:21-cr-00078-RCL Document 16-1 Filed 02/16/21 Page 1 of 4



DU
(05-2015)
                 UNITED STATES PROBATION AND PRETRIAL SERVICES OFFICE
                                              DISTRICT OF UTAH
                           Computer and Internet Monitoring Program Agreement




      NAME:     Sullivan      ,John      Earle                            CR21-78          PACTS #: Client ID

I understand I have been ordered, as a condition of Pretrial Release Supervision, to participate in the United
States Probation and Pretrial Services Computer and Internet Monitoring Program under:

                            APPENDIX A : Computer and Internet Use, as approved

     1) I acknowledge I am to comply with all program rules set forth in this appendix and the instructions U.S.
        Probation and Pretrial Services Office (USPO). I understand that this appendix is, by reference, part of
        the order setting conditions for my release. I acknowledge I am to comply with its provisions and the
        instructions of the USPO, failure to do so may be considered a violation of my supervision and may
        result in an adverse action. I agree to call the USPO if I have any questions about the rules of the
        program, or if I experience any problems that may hinder my compliance with this program.

     2) I understand I must complete and provide the CIMP Questionnaire to my supervising officer as directed.
        I further understand I am to provide the USPO all previous, current, and future internet identifications
        (i.e. internet email addresses, logon identification, screen names, etc).

     3) I shall possess and/or access only computer hardware and software (including operating system
        software) approved by the USPO. I shall obtain permission from the USPO prior to obtaining or
        accessing any additional computer hardware/software or making any alterations to my system.

     4) I will not use any system settings, programs, or devices designed to hide, alter or delete records/logs of
        my computer use, Internet activities or files stored on my assigned computer(s). This includes the use
        of encryption, virtual machines, steganography, and cache/cookie removal software.

     5) If the court has not prohibited my use or possession of a computer, I understand that I may only use
        computer(s) in my home or at my place of employment that have been approved by the USPO. I
        further understand I am responsible for the content, programs, and data that may be stored or accessed
        by a computer I am permitted to use
                    Case 1:21-cr-00078-RCL Document 16-1 Filed 02/16/21 Page 2 of 4



DU
(05-2015)


     6) I agree to allow the USPO to inspect, configure, and/or install software/hardware designed to monitor
        computer activities on any computer I am authorized to use. I understand that the software may record
        any and all activity on my computer. I further understand that a notice may be placed on the computer
        at the time of installation to warn others of the existence of the monitoring software on my computer. I
        agree not to attempt to remove, tamper with, reverse engineer, or in any way circumvent the
        software/hardware.

     7) I understand that the USPO may use measures to assist in monitoring compliance with these conditions
        such as adjusting of my computer, the configuration removal of programs and applications that may
        interfere with monitoring my compliance, and may apply tamper resistant tape over unused ports as well
        as seal my computer case.

     8) I will notify all individuals that have access to my computer system that it is subject to monitoring
        and/or search/seizure.

     9) I shall not create or assist directly or indirectly in the creation of any electronic bulletin board, ISP, or
        any other public or private network without the consent of the USPO. Any approval shall be subject to
        any condition set by the USPO or the Court with regard to that approval.

     10) I understand the USPO may determine a program, application, website and/or material may be
         detrimental to my success in this program and therefore ask the Court to prohibit future access to same.

     11) I understand that my officer will use telephone calls and unannounced personal visits to monitor my
         compliance. When I am at home, I agree to promptly answer my telephone and/or door.

     12) I will provide copies of credit card billing records or other financial records as directed by the USPO to
         corroborate by use of the internet and purchases of electronic devices subject to the program.

     13) The USPO utilizes commercially available software applications. While there are no known conflicts
            or defects in the software Office for any direct, indirect, incidental, special or consequential damage
            whatsoever including but not limited to loss of revenue or profit, lost or damaged packages, I indicate by
            my signature below that I accept all responsibility and risk for the computer intake and software
            installation and use on my computer(s). Further I agree to hold harmless the U.S. Probation data, other
            personal commercial or economic loss, or warranties voided as a result of computer inspection, search,
            and/or use of monitoring software.

     14) All repairs to your authorized computer system must be pre-authorized by the USPO. Documentation
         indicating repairs done and reason for repairs may be required, and your authorized computer system
         may be subject to examination by the USPO prior to and after authorized repairs.

     15) I will not access any computer(s) or online service(s) using someone else=s account, name, designation,
         or alias. I understand I am to only access the Internet on a computer and account reported to and
         approved by the USPO. Furthermore, I will not utilize any service which conceals, spoofs, or
         anonymizes my Internet address, or computer use.
                  Case 1:21-cr-00078-RCL Document 16-1 Filed 02/16/21 Page 3 of 4



DU
(05-2015)


     16) I will access email accounts, including web-mail accounts, via approved protocols (i.e. POP, IMAP,
         SMTP) and approved email clients (i.e. Outlook, Outlook Express).

     17) I will not download, possess and/or install copyrighted material (for which I do not possess a license),
         which include but is not limited to protected audio files, video files, software applications, etc., that I did
         not legitimately purchase or obtain the legal authorization to utilize. Nor shall I download, possess
         and/or install applications which allow for the circumvention and/or decryption of copyright protection
         measures.

     18) I will not purchase, download, possess, utilize, and/or install any unapproved anti-virus, anti-spyware,
         firewall, internet security applications, file password protection, encryption, cryptography, and/or
         steganography, including Secure Socket Layer ("SSL") and Virtual Private Networks (VPN)
         connections.

     19) I will not view, possess, and/or compose any material that describes or promotes the unauthorized access
         to computer systems. This includes, but is not limited to, spoofing/defacing web sites, how to launch
         denial of service attacks, how to gain unauthorized access to information maintained by corporate,
         government, education computer systems, etc.

     20) I will not purchase, download, possess, upload, and/or install freeware/shareware/software applications
         whose primary purpose is to cause damage to other computer systems (i.e. viruses, worms) and/or
         covertly install remote connection/back door applications not authorized by users of other computer
         systems (i.e. Trojan Horses (NetBus, Back Orifice)).

     21) I will not use any freeware/shareware/software application or other device which wipes (secure file
         deletion) disk space, drives, media, etc. unless approved by the USPO.

     22) I will not utilize network/internet storage, cloud computing, or other applications/methods which store
         data to any location other than my approved computer system(s), unless approved by the USPO.

     23) I will not change or attempt to change, circumvent, or disable any restrictions and/or settings established
         by the Probation Department and my supervision officer, my Internet Service Provider, monitoring
         software/hardware, and/or biometric user authentication hardware/software. Nor shall I possess or use
         removable media (i.e. CD-R=s, DVDs, External Hard Drives, USB flash drives) configured with
         bootable operating systems or stealth applications.

     24) I will not change, re-install, or upgrade the current operating system (i.e. Windows, iOS, etc.) on any
         authorized computer without pre-approval and authorization by USPO. This includes but is not limited
         to utilizing the "system restore" function available in some operating systems.

     25) I will not have another individual access the Internet on my behalf to obtain files, access websites, or
         other information/data which I am restricted from accessing myself.

     26) Any computer and/or other device which allows Internet access and/or digital media storage within my
         residence, or otherwise accessible by me, is subject to random examinations/analysis/search by the
         USPO.
                   Case 1:21-cr-00078-RCL Document 16-1 Filed 02/16/21 Page 4 of 4



DU
(05-2015)




                        Sworn to on the record              2/16/21
            Defendant                                       Date


            U.S. Probation Officer                          Date
